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                               1 Scott J. Fishwick (CA SBN 308661)
                                 sfishwick@bakerlaw.com
                               2 BAKER & HOSTETLER LLP
                                 11601 Wilshire Blvd., Ste. 1400
                               3 Los Angeles, CA 90025
                                 Telephone: 310.820.8800
                               4 Facsimile: 310.820.8859
                               5 David B. Rivkin, Jr. (pro hac vice)
                                 drivkin@bakerlaw.com
                               6 BAKER & HOSTETLER LLP
                                 1050 Connecticut Avenue, NW
                               7 Washington, D.C. 20036
                                 Telephone: 202.861.1500
                               8 Facsimile: 202.861.1783
                               9 (additional counsel listed after caption)
                              10 Attorneys for Claimant
                                 PetroSaudi Oil Services (Venezuela) Ltd.
                              11
B AKER & H OSTETLER LLP
   A TTORNEYS AT L A W




                              12                     IN THE UNITED STATES DISTRICT COURT
      L OS A NGELES




                              13                      CENTRAL DISTRICT OF CALIFORNIA
                              14                             LOS ANGELES DIVISION
                              15 UNITED STATES OF AMERICA,                   Case No.: 2:20-cv-08466-DSF-PLA
                              16                                             Hon. Dale S. Fischer
                                        Plaintiff,
                              17   v.                                        CLAIMANT PETROSAUDI OIL
                                                                             SERVICES (VENEZUELA)
                              18                                             LTD.’S NOTICE OF MOTION
                                 ALL FUNDS HELD IN ESCROW BY                 AND MOTION TO DISMISS
                              19 CLYDE & CO. (OR SUCCESSOR                   VERIFIED SECOND AMENDED
                                                                             COMPLAINT IN REM;
                              20 INSTITUTION) IN THE UNITED                  MEMORANDUM OF POINTS
                                 KINGDOM AS DAMAGES OR                       AND AUTHORITIES IN
                              21 RESTITUTION IN PETROSAUDI v.                SUPPORT
                              22 PDVSA UNCITRAL ARBITRATION,                 Hearing Date: May 17, 2021
                              23                                             Time: 1:30 p.m.
                                        Defendant.                           Judge: Hon. Dale S. Fischer
                              24                                             Courtroom: 7D
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                              1   OF COUNSEL:
                              2   Lee A. Casey (CA SBN 119568)
                                  lcasey@bakerlaw.com
                              3   Mark W. DeLaquil
                                  mdelaquil@bakerlaw.com
                              4   Jonathan R. Barr (pro hac vice)
                                  jbarr@bakerlaw.com
                              5   Elizabeth Price Foley
                                  efoley@bakerlaw.com
                              6   Kendall E. Wangsgard
                                  kwangsgard@bakerlaw.com
                              7   BAKER & HOSTETLER LLP
                                  1050 Connecticut Avenue, NW
                              8   Washington, D.C. 20036
                                  Telephone: 202.861.1500
                              9   Facsimile: 202.861.1783
                             10   Jonathan B. New (pro hac vice)
                                  jnew@bakerlaw.com
                             11   BAKER & HOSTETLER LLP
                                  45 Rockefeller Plaza
B AKER & H OSTETLER LLP




                             12   New York, NY 10111
   A TTORNEYS AT L A W




                                  Telephone: 212.589.4200
      L OS A NGELES




                             13   Facsimile: 212.549.4201
                             14   Attorneys for Claimant
                                  PetroSaudi Oil Services (Venezuela) Ltd.
                             15
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                              1                        NOTICE OF MOTION AND MOTION
                              2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                              3         PLEASE TAKE NOTICE THAT on May 17, 2021, before the Hon. Dale S.
                              4   Fischer, in Courtroom 7D, or as soon thereafter as the matter may be heard in the
                              5   above-titled Court located at the First Street Courthouse, 350 West 1st Street, Los
                              6   Angeles, CA, Claimant PetroSaudi Oil Services (Venezuela) Ltd. will and hereby
                              7   does respectfully move this Court for an order dismissing this action.
                              8         This motion is made pursuant to Federal Rules of Civil Procedure 12(b)(1),
                              9   12(b)(2), and 12(b)(6), and Supplemental Rule G. This motion is made concurrent
                             10   with Claimant’s opposition to the government’s ex parte application for issuance of
                             11   an arrest warrant in rem, ECF No. 54, and for judicial efficiency incorporates by
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                             12   reference those applicable portions of Claimant’s opposition, including the
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                             13   Declaration of the Hon. James Lewis QC.
                             14         This motion is based on this Notice of Motion and Motion to Dismiss and the
                             15   Memorandum of Points and Authorities attached hereto and such other papers and
                             16   arguments as the Court may consider.
                             17         This motion is made following the conference of counsel, which took place
                             18   telephonically between counsel for Claimant and counsel for the government on
                             19   April 14, 2021 and via subsequent email exchange.
                             20   DATE: April 19, 2021                            Respectfully submitted,
                             21
                             22                                                   Baker & Hostetler LLP
                             23
                             24                                                   By: /s/ David B. Rivkin, Jr.
                             25                                                   SCOTT J. FISHWICK
                                                                                  DAVID B. RIVKIN, JR.
                             26
                             27                                                   Attorneys for Claimant
                                                                                  PETROSAUDI OIL SERVICES
                             28                                                   (VENEZUELA) LTD.
                                                                           viii
                                  CLAIMANT’S MOTION TO DISMISS SECOND AMENDED COMPLAINT              2:20-CV-08466-DSF-PLA
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                              1                   MEMORANDUM OF POINTS AND AUTHORITIES
                              2            This Court has twice found the government’s allegations insufficient. See
                              3   Order Denying App. for Arrest Warrant, ECF No. 11; Order Granting Mot. to
                              4   Dismiss and Denying Mot. for Protective Order, ECF No. 52 (the “Dismissal
                              5   Order”). The Second Amended Complaint (“SAC”) fares no better. As a threshold
                              6   matter, the Court lacks subject matter jurisdiction, particularly given developments
                              7   in the United Kingdom whereby the defendant res is now held in a UK court
                              8   registry. For that reason alone, dismissal is warranted on the basis of the Prior
                              9   Exclusive Jurisdiction Doctrine and a lack of Article III standing. In addition, the
                             10   newly added allegations do not cure the prior failure to state a claim. The SAC fails
                             11   to connect the independent res to any alleged SUA or money laundering. If the
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                             12   government could link Claimant or the relevant drillship involved in the arbitration
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                             13   to funds from 1MDB, it would. It does not because it cannot. Instead, the SAC
                             14   continues to rely on vague group pleading irreconcilable with common sense or
                             15   legal “plausibility.” Finally, international comity warrants dismissal in light of
                             16   foreign interests and the actions of foreign sovereigns with respect to the res.
                             17            Across three complaints, it has become clear that the government can point to
                             18   no set of facts justifying forfeiture. Further amendment would only cause delay,
                             19   impose additional prejudicial costs on Claimant, and, most importantly, would be
                             20   futile. Dismissal of the SAC should be with prejudice.
                             21                                 RELEVANT ALLEGATIONS1
                             22            Plaintiff seeks civil forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C)
                             23   of a res (the “Defendant Funds”) comprised of all funds held in the UK as damages
                             24   or restitution awarded in the arbitration between Claimant and PDVSA Servicios
                             25   S.A. (“PDVSA”). SAC ¶ 2. The government asserts that forfeiture is equally
                             26   permissible—and appropriate—independent of whether the funds are held by Clyde
                             27   & Co. or the High Court of Justice, Business and Property Courts of England and
                             28
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                                      Plausible, non-conclusory allegations are taken as true for purposes of Rule 12(b)(6) only.
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                              1   Wales. Id.2 The claimed basis for forfeiture is the same purported international
                              2   conspiracy to launder money misappropriated from 1MDB that underlies the
                              3   government’s prior actions. Id. ¶ 5. However, when stripped of conclusory
                              4   allegations, the SAC continues to detail wholly legitimate foreign business
                              5   transactions, including between PetroSaudi International, Ltd. (“PSI”) and 1MDB
                              6   and, independently, between Claimant and PDVSA.
                              7          Notwithstanding the provision of legitimate drilling services, as alleged in
                              8   the SAC, PDVSA “refused to honor [ ] drilling invoices” resulting in an arbitration
                              9   that, in part, “adjudicate[d] the adequacy” of Claimant’s performance and the
                             10   “validity” of its drilling invoices. Id. ¶ 1094. Claimant prevailed in the arbitration
                             11   and was awarded roughly $380 million as compensation for the services. Id.3 These
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                             12   are funds “owed by PDVSA” to Claimant, id. ¶ 1095, as determined by the
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                             13   independent UNCITRAL arbitration tribunal (the “Tribunal”).
                             14          The arbitration was commenced in August 2015, id. ¶ 1094, initiated by
                             15   PDVSA as claimant against PSOSVL as respondent. PDVSA brought dozens of
                             16   claims asserting breach of contract and PSOSVL counter-claimed for unpaid
                             17   invoices. The contract between PSOSVL and PDVSA, which formed the basis for
                             18   the arbitration, was guaranteed by a rolling standby letter of credit issued by Banco
                             19   Espírito Santo (n/k/a Bank Novo Banco S.A.) on behalf of PDVSA and in favor of
                             20   PSOSVL. During the arbitration PSOSVL made demand under the standby letter of
                             21   credit and, by order dated March 31, 2017, the Tribunal created an escrow account
                             22   into which the funds demanded were paid. The Tribunal’s order followed a decision
                             23
                                  2
                                    By order dated March 23, 2021—six days before the government filed the SAC—the
                             24   High Court of Justice in the UK ordered that the funds be turned over to its Court Funds
                             25   Office (the “March 23, 2021 Order”). Accordingly, the UK court has taken actual control
                                  and custody of the Defendant Funds. Further, upon issuance of that order, Clyde & Co.’s
                             26   prior trusteeship and escrow management was terminated. See Notice of Order Filed in
                                  UK Action, ECF No. 57 and 57-1.
                             27   3
                                    The arbitral award is integral to the SAC and the Court may consider it on this motion to
                             28   dismiss because “plaintiff refers extensively to the document or the document forms the
                                  basis of the plaintiff’s claim.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
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                              1   by the Court of Appeal of England and Wales, which ordered full payment, and a
                              2   denial by the Supreme Court of PDVSA’s request for an appeal. Therefore, the
                              3   funds originated from Novo Banco in accordance with orders by the Tribunal and a
                              4   UK court. On July 17, 2020, the Tribunal delivered its 950-page final award:
                              5   $379,843,732 in favor of PSOSVL. These are the Defendant Funds.
                              6            The SAC alleges that, as one of its first investments, 1MDB entered into an
                              7   agreement with a PSI subsidiary to form a joint venture called 1MDB PetroSaudi
                              8   Limited. SAC ¶ 43. The joint venture agreement (“JVA”), dated September 28,
                              9   2009, provided for 1MDB to purchase a 40% equity interest in the JV for $1 billion
                             10   in cash. Id. ¶¶ 43, 56, 1072. The PSI subsidiary gave $2.7 billion in independently
                             11   valued assets in exchange for the remaining 60% equity interest and the repayment
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                             12   of $700 million for its over-contribution of assets. The JVA provided that this $700
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                             13   million loan would be repaid from 1MDB’s $1 billion contribution to the JV. The
                             14   objective of the JV was to “seek, explore, enter into and participate in business and
                             15   economic opportunities within and outside of Malaysia; and . . . to enhance,
                             16   strengthen and promote the future prosperity and economic development of
                             17   Malaysia, to the extent that achievement of above-mentioned objectives would
                             18   maximise the profits of the [JV].” See JVA at 5, cl. 2.4 See also SAC ¶ 63.
                             19            Of the $1 billion representing 1MDB’s investment in the JV, $700 million
                             20   was allegedly misappropriated by Jho Low and unnamed associates. SAC ¶ 44.
                             21   Although the SAC alleges diversion of these funds, 1MDB contemporaneously
                             22   advised Deutsche Bank that the $700 million was an “advance [that’s] owed to” PSI
                             23   and that 1MDB did not “care” what PSI did with its own money. Id. ¶ 72. In any
                             24   event, the SAC does not claim that the Defendant Funds are derived in any way
                             25   from the $700 million that was allegedly misappropriated.
                             26            Rather, the relevant portions of the SAC are ostensibly concerned with a
                             27   $300 million investment by 1MDB, which had been transferred directly into the
                             28
                                  4
                                      Filed at ECF No. 34-2.
                                                                             3
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                              1   JV’s account at J.P. Morgan. Id. ¶¶ 76, 89, 1082. In other words, the SAC is
                              2   focused on the “1MDB funds that made it to the joint venture [and] are the funds
                              3   that were not stolen.” Dismissal Order at 4; see also SAC ¶ 89 (identifying the JV
                              4   account as receiving $300 million of the $1 billion 1MDB investment).
                              5   Specifically, the SAC alleges that after the JV received $300 million pursuant to the
                              6   JVA, the same amount was transferred from the JV to PSI in late December 2009
                              7   and early January 2010. SAC ¶ 1083. Then, on January 15, 2010, $185 million was
                              8   allegedly transferred from PSI to a separate entity, PetroSaudi Oil Services Ltd.
                              9   (“PSOSL”). Id. ¶ 1084. PSOSL allegedly “used this $185 million” to fund a
                             10   nebulously defined “drilling project in Venezuela” with PDVSA. Id. ¶ 1085. In
                             11   particular, $46.9 million was used to “purchase a drillship” called the Neptune
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                             12   Discoverer and $120 million was transferred to PDVSA. Id. In fact, however, the
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                             13   purchase price of the Discoverer was $150 million.5 The SAC does not address this
                             14   discrepancy, specifically how only $185 million was transferred to PSOSL, but the
                             15   cost of the Discoverer plus the PDVSA transfers total $270 million. Allegedly,
                             16   another entity—PSOSVL (i.e., Claimant)—was newly “set up” by an unidentified
                             17   person or persons “to operate the Neptune Discoverer” and “to receive the proceeds
                             18   of its drilling operations.” Id. ¶ 1086.6
                             19          The so called “Venezuelan drilling project” was then allegedly expanded in
                             20   late summer 2010 with the purchase of a different drillship, the Songa Saturn. Id. ¶
                             21   1090. The total purchase price for the Saturn and its contract with PDVSA was
                             22
                                  5
                             23     See, e.g., The Edge Markets, Jan. 22, 2010, “Jasper Investments unit sells drillship
                                  Neptune Discoverer for $210m” available at www.theedgemarkets.com/article/jasper-
                             24   investments-unit-sells-drillship-neptune-discoverer-210m. Judicial notice of matters of
                             25   public record is permissible at the motion to dismiss stage. Khoja v. Orexigen
                                  Therapeutics, 899 F.3d 988, 994 (9th Cir. 2018). A court may take judicial notice when a
                             26   fact “is not subject to reasonable dispute [because] it is generally known, or can be
                                  accurately and readily determined from sources whose accuracy cannot reasonably be
                             27   questioned.” Id. at 999 (citations omitted).
                                  6
                             28     Passive voice allegations occur at critical factual intersections throughout the SAC. See,
                                  e.g., ¶¶ 1090, 1091, 1098.
                                                                               4
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                              1   $260 million.7 The government speculates that this purchase price was paid through
                              2   “at least two income streams”: (i) upon information and belief, PSOSL spent $13
                              3   million of the original $300 million that funded the JV; and (ii) the remaining $247
                              4   million was funded via bonds issued by a separate entity, PSOS Finance Limited.
                              5   Id. ¶¶ 1088, 1090-91. The SAC further speculates that PSOS Finance would not
                              6   have been able to “successfully raise bonds to purchase the rest of the Saturn” were
                              7   it not for the fact that the Discoverer was already operating. Id. ¶¶ 1091, 1098.
                              8         Allegedly, the Discoverer and the Saturn were “participants” in the “same
                              9   overall Venezuelan drilling project,” although the government is forced to
                             10   acknowledge that they were owned by different holding companies and had
                             11   separate revenue streams from PDVSA in accordance with “separate drilling
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                             12   contracts.” Id. ¶ 1093. Notwithstanding these important distinctions, the
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                             13   government insists that the Saturn contract was merely a “component” of a broader,
                             14   but undefined, drilling project. Id. ¶ 1094.
                             15         The UNCITRAL arbitration arose from the Saturn contract alone. Id. ¶ 1093.
                             16   Inconsistently, the government alleges that the “project” was “highly troubled,” yet
                             17   the Tribunal awarded PSOSVL $380 million in damages for non-payment by
                             18   PDVSA, id. ¶ 1094, recognizing that legitimate, valuable services were provided.
                             19   See also id. ¶ 1099 (the arbitration award corresponds to “revenues that the Saturn
                             20   earned”). Importantly, the arbitration had nothing to do with the Discoverer. Only
                             21   after 1MDB exited the JV in June 2010, id. ¶ 101, was the Saturn purchased with
                             22   money that was almost entirely raised on the international bond market. PSOSVL
                             23   operated the Saturn independently of PSOSL’s Discoverer contract, and the
                             24   Defendant Funds were tendered by Novo Banco pursuant to the standby letter of
                             25   credit for the Saturn contract. The fundamental fact remains that the Discoverer and
                             26   the Saturn were purchased months apart, by separate entities, with separate funds,
                             27
                             28   7
                                   See Offshore Mag, Oct. 8, 2010, “Petrosaudi Receives Songa Drillship” available at
                                  www.offshore-mag.com/rigs-vessels/article/16795085/petrosaudi-receives-songa-drillship
                                                                             5
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                              1   and contracted to PDVSA under separate contracts.
                              2         Finally, sprinkled throughout the SAC are conclusory allegations that PSI,
                              3   PetroSaudi Cayman, PSOSL, PSOSVL, Tarek Obaid, and others were “co-
                              4   conspirators.” Id. ¶¶ 1092, 1097. A fair reading of the SAC, however, is that these
                              5   entities operated a legitimate business providing bona fide drilling services to
                              6   PDVSA, pursuant to arms-length contracts, over many years.
                              7                                   LEGAL STANDARD
                              8         The SAC asserts three forfeiture counts under 18 U.S.C. § 981(a)(1)(C)
                              9   (Count I) and 18 U.S.C. § 981(a)(1)(A) (Counts II-III). The purported basis for
                             10   forfeiture is that the arbitration-awarded damages “constitute, and are derived from,
                             11   proceeds traceable to” specified unlawful activity (Count I), or that the defendant
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                             12   property is “traceable to property involved in on or more” money laundering
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                             13   transactions in violation of 18 U.S.C. §§ 1956 and/or 1957 (Counts II-III).8
                             14         The government is the complainant and bears the “burden of establishing
                             15   subject matter jurisdiction.” See HD Carrier, LLC v. AT&T Corp., No. 2:20-cv-
                             16   06509, 2020 WL 7059202, *3 (C.D. Cal. Dec. 2, 2020) (citing Kokkonen v.
                             17   Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). This is as true in the civil
                             18   forfeiture context as in any other. See United States v. $557,933.89, More or Less,
                             19   in U.S. Funds, 287 F.3d 66, 79 n.9 (2d Cir. 2002).
                             20         Rule G governs Plaintiff’s pleading requirements in this case. Supp. R.
                             21   A(1)(B). Plaintiff must, inter alia, “state sufficiently detailed facts to support a
                             22   reasonable belief that the government will be able to meet its burden of proof at
                             23   trial.” Supp. R. G(2)(f). This is a “heightened pleading standard.” United States v.
                             24   One White Crystal Covered Bad Tour Glove and Other Michael Jackson
                             25   Memorabilia, No. cv 11-3582, 2012 WL 8455336 at *2 (C.D. Cal. Apr. 16, 2012)
                             26
                                  8
                                    In Counts II-III, the government no longer alleges that the Defendant Funds were
                             27   “involved in” the alleged money laundering transactions, but only that they are traceable
                             28   to property that was. The government has also abandoned any claim based on alleged
                                  violation of 18 U.S.C. § 1956(a)(2)(B)—international money laundering.
                                                                              6
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                              1   (“Jackson Memorabilia”). At a minimum, Plaintiff must “plead specific allegations
                              2   that specific instances of criminal activity took place.” Id. at *3. The complaint
                              3   must also meet the familiar Iqbal/Twombly plausibility standard, to wit it must
                              4   “contain sufficient factual matter, accepted a true, to ‘state a claim to relief that is
                              5   plausible on its face.’” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) and
                              6   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Well-pleaded facts are to be
                              7   accepted as true for purposes of a motion to dismiss; however, the Court need not
                              8   accept legal conclusions couched as factual allegations. Twombly, 550 U.S. at 555.
                              9         Finally, allegations “based on information and belief may suffice” only “so
                             10   long as the allegations are accompanied by a statement of facts upon which the
                             11   belief is founded.” Wool v. Tandem Computers Inc., 818 F.2d 1433, 1439 (9th Cir.
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                             12   1987), overruled on other grounds as recognized in Nayab v. Cap. One Bank
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                             13   (USA), N.A., 942 F.3d 480, 494 (9th Cir. 2019). Permissible pleading “upon
                             14   information and belief” requires two pre-conditions: (1) the information be
                             15   peculiarly within the possession or control of the defendant; and (2) additional facts
                             16   that give rise to an inference that those allegations are plausible. See Soo Park v.
                             17   Thompson, 851 F.3d 910 (9th Cir. 2017); see also Blantz v. Calif. Dep’t of Corr. &
                             18   Rehab., 727 F.3d 917 (9th Cir. 2013) (considering unsupported allegations made on
                             19   information and belief to be “naked” and “conclusory” and patently insufficient).
                             20                                        ARGUMENT
                             21   I.    THE COURT LACKS SUBJECT MATTER JURISDICTION
                             22         A.     The Prior Exclusive Jurisdiction Doctrine Controls
                             23         This case is still controlled by the Prior Exclusive Jurisdiction Doctrine
                             24   (“PEJ”), which the Ninth Circuit has made mandatory. See Goncalves v. Rady
                             25   Children’s Hosp., San Diego, 865 F.3d 1237, 1253 (9th Cir. 2017) (“The prior
                             26   exclusive jurisdiction doctrine is a ‘mandatory jurisdictional limitation’ . . .”);
                             27   Chapman v. Deutsche Bank Nat’l Trust Co., 651 F.3d 1939, 1043 (9th Cir. 2011)
                             28   (“Whether the doctrine is described as a rule of comity or subject matter jurisdiction

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                              1   . . . courts in this circuit are bound to treat the doctrine as a mandatory rule, not a
                              2   matter of judicial discretion.”) (citations omitted).9
                              3         As noted above, in the March 23, 2021 Order, the UK court entered an order
                              4   requiring Clyde & Co.: (1) to convert the Defendant Funds from U.S. dollars into
                              5   British pounds sterling and; (2) immediately transfer those funds into the Court
                              6   Funds Office. ECF No. 57-1 at 2. The court also terminated Clyde’s role as escrow
                              7   agent upon transfer of the funds, ordered payment of specific amounts to
                              8   PSOSVL’s London solicitors, and stated that PSOSVL was free to “apply for
                              9   further Orders including to vary or amend the Orders requiring payment of funds
                             10   into or out of the Court Funds office. Id. at 3. The March 23, 2021 Order predates
                             11   the SAC, and it is that court that has both asserted jurisdiction and achieved control
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                             12   over the funds. As a result, the PEJ deprives this Court of jurisdiction.
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                             13                  1.   These Actions are “In Rem”
                             14         There can be no question that the English proceedings are “in rem” for PEJ
                             15   purposes. The March 23, 2021 Order was sought and issued pursuant to Practice
                             16   Direction 64A-Estates, Trusts and Charities, Title 1 Claims Relating to the
                             17   Administration of Estates and Trusts, para. 1(2)(a)(ii). This provision allows the
                             18   English court to issue “an order requiring a trustee . . . to pay into court money
                             19   which he holds in that capacity.” Matters of trust administration are quintessential
                             20   examples of in rem proceedings, particularly where the possession and disposition
                             21   of the res are involved—as in this case. See Princess Lida of Thurn and Taxis, et al.
                             22   v. Thompson, 305 U.S. 456, 466 (1939) (noting that PEJ applies both “where suits
                             23   are brought to marshal assets, administer trusts, or liquidate estates, and in suits of a
                             24   similar nature where, to give effect to its jurisdiction, the court must control the
                             25   property.”).
                             26
                                  9
                                    In addition, the Malaysian courts have also asserted their jurisdiction over the res
                             27   through the order of August 19, 2020, prescribing what payments may be made from the
                             28   Defendant Funds, also before the SAC was filed. See ECF No. 42-1, Supplemental
                                  Declaration of Mohd Yusof Bin HJ Zainal Abiden, ¶¶ 6-7 (Jan. 1, 2021).
                                                                              8
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                              1         However, even if the UK action were not a suit involving trust
                              2   administration, it would still be “in rem” for these purposes. Indeed, whether the
                              3   actions are labelled “in rem” is irrelevant. See State Engineer of Nev. v. South Fork
                              4   Band of the Te-Moak Tribe of W. Shoshone Indians, 339 F.3d 804, 814 (9th Cir.
                              5   2003) (in determining whether or not the PEJ applies in a given case, the formal
                              6   “style” of an action is not dispositive) (“Te-Moak Tribe”). The Ninth Circuit has, in
                              7   fact, adopted a very straightforward test for determining PEJ applicability. In
                              8   Goncalves, 865 F.3d at 1254, the court defined both “in rem” and “in personam”
                              9   for purposes of the PEJ. An in rem case determines disposition of particular
                             10   property (here the res). An in personam case, by contrast, adjudicates rights and
                             11   obligations of particular parties and any judgment secured can be executed not
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                             12   merely against a single, identified asset, but against any of the defendant’s assets.
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                             13         Here, this Court, the UK Court, and the courts in Malaysia, have been asked
                             14   to determine the disposition of the Defendant Funds, not to enter judgment against
                             15   PSOSVL or anyone else that can be satisfied out of any other assets. In this
                             16   connection, Goncalves relied on United States v. Bank of N.Y. & Trust Co., 296
                             17   U.S. 463 (1936), where the Court applied PEJ to adjudication of claims against
                             18   specific funds, which had originally belonged to Russian insurance companies,
                             19   doing business in New York, and expropriated by the Soviet government. New
                             20   York state courts consigned the funds to that state’s insurance commissioner for
                             21   conservation and liquidation in accordance with the court’s orders.
                             22         The United States asserted a claim against the assets based on an assignment
                             23   of interest from the Soviet government, executed as part of its recognition by the
                             24   United States. It brought suit in federal court for an accounting, raising the question
                             25   of the state court’s prior jurisdiction and application of the PEJ. The government
                             26   argued that PEJ did not apply as its accounting actions were in personam in nature,
                             27   that would merely determine the rights in the property. The Supreme Court rejected
                             28   this claim, reasoning that “these suits are not to enforce a personal liability, but to

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                              1   obtain possession of the respective funds. The suits are not merely to establish a
                              2   debt or right to share in property, and thus to obtain an adjudication which might be
                              3   had without disturbing the control of the state court.” Id. at 478. Rather, “the object
                              4   of the suits is to take the property from the depositaries and from the control of the
                              5   state court, and to vest the property in the United States to the exclusion of all other
                              6   whose claims are being adjudicated in the state proceedings.” Id.
                              7         In this case, of course, the government does not merely seek adjudication of
                              8   interests, but to itself seize the property to the exclusion of all others. As a result,
                              9   the PEJ applies and this court must yield to the courts that have previously asserted
                             10   jurisdiction over the assets and which are currently in control of those assets.
                             11                2.     28 U.S.C. § 1355(b) Did Not Displace the PEJ
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                             12         28 U.S.C. § 1355(b) does not change this conclusion, as the government has
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                             13   previously argued. In Te-Moak Tribe, the Ninth Circuit held that a statute does not
                             14   displace the PEJ “‘unless the language of a statute be clear and explicit for this
                             15   purpose.’” See 339 F.3d at 814 (quoting Norfolk Redev. & Hous. Auth. v.
                             16   Chesapeake & Potomac Tel. Co. of Va., 464 U.S. 30, 35-36 (1983)). There, the
                             17   court concluded that Congress’s use of the word “jurisdiction” in the relevant
                             18   statute—43 U.S.C. § 666(a), addressing federal and state jurisdiction over water
                             19   rights—must be presumed to have included “‘the cluster of ideas that were
                             20   attached’ to th[at] word,” including the PEJ. Id. at 814. Similarly, absent “clear and
                             21   explicit” language to the contrary, Congress’s use of the term “jurisdiction” in
                             22   § 1355 must be presumed to have incorporated, rather than displaced, the PEJ.
                             23         B.     There is No Case or Controversy Without Control of the Res
                             24         Further, as explained in Claimant’s Opposition to the renewed Arrest
                             25   Warrant Application, because this Court’s subject matter jurisdiction depends upon
                             26   the discretionary actions of a foreign government, the government cannot show a
                             27   “substantial likelihood” that its “injury” can be ‘redressed by a favorable
                             28   decision.’” Gonzales v. United States, 975 F.3d 788, 800 (9th Cir. 2020) (quoting

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                              1   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (omitting alternations
                              2   in original)); see also Cetacean Comm. v. Bush, 386 F.3d 1169, 1174 (9th Cir.
                              3   2004) (“A suit brought by a plaintiff without Article III standing is not a ‘case or
                              4   controversy,’ and an Article III federal court therefore lacks subject matter
                              5   jurisdiction over the suit.”). Because the res is now under the custody and control of
                              6   a UK court, an independent sovereign not answerable to this Court, the government
                              7   cannot establish a “substantial likelihood” of redressability.10 As a result, there is no
                              8   case or controversy to support the Court’s jurisdiction here. See Greater Tampa
                              9   Chamber of Comm. v. Goldschmidt, 627 F.2d 258, 263 (D.C. Cir. 1980) (complaint
                             10   failed to “allege facts which give rise to a ‘substantial likelihood’ that, were a court
                             11   to grant appellants the relief they request, their injury would be redressed” because
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                             12   that redress depended on the agreement of the British Government).11
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                             13          28 U.S.C. § 1355 cannot make up this deficit.12 With one exception, the
                             14   Circuits suggesting that control is no longer required to establish in rem jurisdiction
                             15   under §1355, including the Ninth Circuit in United States v. Approx. $1.67 Million
                             16   (US) in Cash, 513 F.3d 991, 996 (9th Cir. 2008), did not address the constitutional
                             17   implications of such a rule.13 See, e.g., $1.67 Million, 513 F.3d at 995; Contents of
                             18   Acct. No. 03001288 v. United States, 344 F.3d 399, 402 (3d Cir. 2003); United
                             19
                                  10
                             20      Although the Court found a similar argument “unpersuasive” when raised by Claimant
                                  in its motion to dismiss the FAC, facts in the UK have since changed significantly.
                             21   11
                                     Similarly, because the enforceability of any order the Court issues depends upon the
                                  independent cooperation of the UK courts, any ruling also would constitute a forbidden
                             22   advisory opinion. See United States v. Batato, 833 F.3d 413, 439 (4th Cir. 2016) (Floyd,
                             23   J., dissenting) (“the court’s judgment cannot bind the property but, instead, merely advises
                                  the foreign sovereign that does control the property as to how a United States court
                             24   believes the rights in the property should be settled.”). See also United States v.
                             25   Kaczynski, 551 F.3d 1120 (9th Cir. 2009) (“The Constitution empowers federal courts to
                                  hear actual cases and not render advisory opinions.”).
                             26   12
                                     This issue was not decided in Obaid, 971 F.3d at 1105-06. Subject matter jurisdiction
                                  was never before the court, and the court’s discussion of § 1355 was limited to venue.
                             27   13
                                     The exception is Batato, where the court concluded that § 1355 was “jurisdictional,” but
                             28   nevertheless found the required redressability based on the “constructive control”
                                  established through foreign freezing orders. 833 F.3d at 422.
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                                  CLAIMANT’S MOTION TO DISMISS SECOND AMENDED COMPLAINT                 2:20-CV-08466-DSF-PLA
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                              1   States v. All Funds in Account Nos. 747.034/278, 747.009/278, & 747.714/278
                              2   Banco Espanol, 295 F.3d 23, 27 n.* (D.C. Cir. 2002). Having failed to confront
                              3   redressability, neither Approx. $1.67 Million, nor the cases on which it relied, can
                              4   be considered precedential on the point. See Leeson v. Transam. Disability Income
                              5   Plan, 671 F.3d 969, 975, 979 (9th Cir. 2012) (“We have also specifically noted that
                              6   drive-by jurisdictional rulings lack precedential force.”) (citing cases).14
                              7          As a result, there is no “substantial likelihood” that any order by the Court
                              8   with respect to the res would be given effect in the UK, where those funds are
                              9   located. This case must be dismissed for lack of subject matter jurisdiction.15
                             10   II.    PERSONAL JURISDICTION OVER PSOSVL
                             11          Although the Obaid Court, 971 F.3d 1095 (9th Cir. 2020), ruled that personal
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                             12   jurisdiction over the res owner is not required in a civil forfeiture action, if the
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                             13   International Shoe/Shaffer requirements were applicable, PSOSVL could not be
                             14   found to have minimum contacts with this jurisdiction. The SAC has no allegations
                             15   supporting any contacts between PSOSVL and this jurisdiction. Nor does the SAC
                             16   allege facts to support an alter ego finding. Thus, any alleged contacts of Mr. Obaid
                             17   cannot be attributed to PSOSVL. See Ranza v. Nike, Inc., 793 F.3d 1059, 1068 (9th
                             18   Cir. 2015). PSOSVL acknowledges that United States v. Obaid forecloses a
                             19   decision in its favor on this issue but maintains its position. PSOSVL filed its
                             20   Petition for a Writ of Certiorari with the Supreme Court, seeking review of the
                             21
                             22   14
                                     The term “drive-by” jurisdiction has broad application. See Lewis v. Casey, 518 U.S.
                             23   343, 352 n.2 (1996) (a standing case where the Court said “we have repeatedly held that
                                  the existence of unaddressed jurisdictional defects has no precedential effect.”).
                             24   15
                                     In any case, Congress cannot create a “case or controversy” out of whole cloth. See
                             25   Gonzales v. Gorsuch, 688 F.2d 1263, 1271 (9th Cir. 1982) (Congressional authority to
                                  expand standing limited only to the extent permitted by Art. III); Cetacean Comm. 386
                             26   F.3d at 1174 (“If a plaintiff lacks Article III standing, Congress may not confer standing
                                  on that plaintiff by statute.”). Thus, even if § 1355 does create a form of statutory “in rem”
                             27   jurisdiction without control of the res, it does not and cannot serve to meet the
                             28   Constitution’s redressability requirements in the absence of the type of freeze orders
                                  present in the cases discussed above.
                                                                               12
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                              1   Obaid Court’s conclusions, on March 31, 2021. That petition is now pending.
                              2   III.   THE SAC FAILS TO ALLEGE THAT THE RES IS TRACEABLE TO
                              3          PROPERTY INVOLVED IN FRAUD OR MONEY LAUNDERING
                              4          The SAC continues to assert two baseless theories upon which the
                              5   government seeks to forfeit the Defendant Funds: (1) direct forfeiture of alleged
                              6   proceeds of specified unlawful activity; and (2) that the property is traceable to
                              7   property involved in two types of money laundering transactions. As noted above,
                              8   n.8, the second theory now adds an additional level of attenuation, namely that the
                              9   res is “property traceable to property” involved in one or more money laundering
                             10   offenses. SAC ¶¶ 5, 14, 1105, 1108. Each theory rests on allegations concerning
                             11   alleged predicate criminal offenses—i.e., specified unlawful activity (SUA)—
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                             12   grounded in fraud that have no connection to the Defendant Funds. As set forth
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                             13   below, the SAC fails to adequately plead either basis for forfeiture.
                             14          A.    The SAC Fails to Plead the Basic Facts Necessary to State a Claim
                             15          Even after multiple amendments, the SAC remains a bloated, confusing and
                             16   recycled pleading that only lightly touches on the claims against the specific
                             17   property in this case. The hundreds of pages of boilerplate allegations that have
                             18   nothing to do with the res are seemingly intended to prejudice any claim and
                             19   obfuscate the inescapable truth that the government has not pled, and cannot plead,
                             20   a viable forfeiture claim against the res. Putting aside the hodgepodge of extraneous
                             21   and immaterial allegations, the SAC falls well short, as a matter of law, of stating a
                             22   claim for forfeiture of the Defendant Funds.
                             23                1.    The SAC Fails to Adequately Allege a Connection Between
                             24                      Alleged Fraud and the Saturn Contract Arbitration
                             25          The SAC continues to provide no basis to conclude that an arbitral award—
                             26   that the government acknowledges is in favor of Claimant PSOSVL for operations
                             27   that occurred after 1MDB left the JV—constitutes proceeds of any alleged fraud.
                             28   The Court has twice recognized this fundamental stumbling block for the

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                              1   government’s theory of forfeiture. See Order Denying App. for Arrest Warrant,
                              2   ECF No. 11; Dismissal Order (noting that the “1MDB funds that made it to the
                              3   joint venture are the funds that were not stolen”). Yet, the new allegations in the
                              4   SAC fail to fix this deficient narrative, to wit, the drilling contract was legitimate,
                              5   the Saturn operations were legitimate, and the “money [was] awarded in the
                              6   arbitration to an entity that is not the joint venture for services legitimately rendered
                              7   to PDVSA.” Dismissal Order at 4.
                              8            Because the SAC remains concerned with alleged 1MDB funds that were not
                              9   stolen, the newly adduced allegations are simply a transparent, futile attempt to
                             10   “plead around” the many deficiencies previously identified by the Court. These
                             11   include that the government’s theory rests on an “attenuated chain of events,” its
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                             12   “theory appears to rely on purely but-for causation,” “there are presumably a
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                             13   number of different ways that PetroSaudi could have funded the drillship
                             14   investment without 1MDB,” the tangential relationship between the res and the
                             15   alleged fraud, and the seemingly intentional vagueness in treatment of various
                             16   entities as well as in chronology. Id. at 4, 5 & n.3. The fact remains that the SAC is
                             17   impermissibly vague, relies on group pleading, and is premised on conclusory
                             18   allegations unsupported by well pled facts.
                             19            Ultimately, all the SAC really does is shift from one shell game to another.
                             20   Whereas the FAC attempted to gloss over glaring deficiencies by attributing
                             21   everything to “PetroSaudi,” the newest vagary is the nebulous “drilling project.”
                             22   See, e.g., SAC § WW.b, ¶¶ 1085, 1087-94, 1097-99.16 PDVSA had two separate
                             23   contracts, with two separate entities, entered into at two different times, for the
                             24   operation of two separate drillships. Id. SAC ¶ 1090. The government is forced to
                             25   admit this fact, briefly acknowledging that the Discoverer and Saturn were
                             26   “governed by separate drilling contracts.” Id. ¶ 1093. The corollary, of course, is
                             27   that the UNCITRAL arbitration arises from only the Saturn contract, concerned
                             28
                                  16
                                       The undefined monolith is also called the “drilling venture.” See SAC ¶ 1080.
                                                                                14
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                              1   only PSOSVL, and only dealt with work performed by the Saturn. In each of those
                              2   respects, nothing has changed from the first amended complaint to the second.
                              3          Moreover, the allegations concerning the Saturn remain woefully deficient.
                              4   The res here consists of funds awarded to PSOSVL (and sourced from Novo
                              5   Banco) in connection with the Saturn, which has nothing to do with PSOSL or the
                              6   Discoverer. Thus, the purchase of the Saturn is the critical link in the government’s
                              7   theory of forfeiture. However, the SAC fails to allege any specific and plausible
                              8   facts about what funds were used to purchase that drillship and how those funds
                              9   were traceable to any alleged fraud. Indeed, the SAC cannot connect the purchase
                             10   of the Saturn to any money allegedly received by the JV from 1MDB.
                             11          Until paragraph 1090 of the SAC, the government alleges affirmative tracing
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                             12   with specific factual allegations as verified by Special Agent Fern. The SAC alleges
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                             13   that the JV obtained $300 million from 1MDB. Id. ¶ 1082. The SAC then says that
                             14   PSI received all $300 million, id. ¶ 1083, but only $185 million was ultimately
                             15   transferred to PSOSL. Id. ¶ 1084. PSOSL promptly spent $46.9 million to partially
                             16   purchase the Discoverer, and transferred $120 million to PDVSA to “guarantee
                             17   PDVSA’s liabilities and obligations.” Id. ¶ 1085.
                             18          Glaringly, in contrast to specific tracing allegations concerning the
                             19   Discoverer, the SAC lacks any similar factual allegations related to the purchase of
                             20   the Saturn. Rather, the SAC relies entirely “upon information and belief.” Id. ¶
                             21   1091. But the source of the funds used to purchase the Saturn and its associated
                             22   contract is the linchpin of the theory of forfeiture. In the absence of specific factual
                             23   allegations connecting the Saturn to any alleged crime, the claims fail.
                             24          The Saturn was purchased for a total of $260 million, approximately ninety-
                             25   five percent of which was funded through an international bond offering (i.e., $247
                             26   million).17 See SAC ¶ 1091. The government well knows that the bond offering had
                             27
                                  17
                             28     Notably, the SAC is silent as to the total purchase price for the Saturn and its associated
                                  drilling contract. Nor does the SAC quantify the amount raised in the bond offering. These
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                              1   nothing to do with 1MDB or the JV investment, so the only way it can arguably
                              2   salvage its forfeiture claim is to somehow trace at least some portion of the funds
                              3   used to purchase the Saturn, albeit small, to the original $300 million allegedly
                              4   obtained by the JV from 1MDB. But, the SAC fails in this regard.
                              5         Without any factual or logical support, the SAC simply asserts that “upon
                              6   information and belief . . . a portion of the original $300 million” amounting to
                              7   approximately $13 million was used for the Saturn purchase. See id. ¶ 1090. This
                              8   conclusory allegation cannot withstand the slightest scrutiny. First, as noted above,
                              9   the total Discoverer and PDVSA outlay exceeded the $185 million that PSOSL
                             10   allegedly received from PSI. Thus, none of those funds would have been available
                             11   for the Saturn transaction. Second, the Saturn was purchased in August 2010, a full
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                             12   nine months after PSOSL allegedly received that $185 million. See id. ¶ 1090. The
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                             13   SAC is silent as to the income or expenses of PSOSL during that period of time,
                             14   and as to the balances of the PSOSL bank account either at the time it allegedly
                             15   received the $185 million or at the time of the Saturn purchase. Indeed, the SAC
                             16   elsewhere alleges that PSOSL reported net operating losses of tens of millions of
                             17   dollars. See id. ¶ 133. Thus, the only plausible inference from the alleged facts is
                             18   that no portion of the alleged $185 million transfer from PSI to PSOSL remained
                             19   available to fund the Saturn purchase.
                             20         Most importantly, the Court should give no weight to these pleadings “upon
                             21   information and belief.” Pleading upon information and belief occasionally may be
                             22   permissible, but only if: (i) the information is particularly within the possession or
                             23   control of the defendant; and (ii) the plaintiff pleads additional facts that give rise to
                             24   the inference that those allegations are plausible. See Soo Park, 851 F.3d 910. The
                             25   SAC satisfies neither requirement.
                             26
                             27
                             28   omissions are an obvious attempt to hide the fact that any cash paid for the purchase was a
                                  small fraction of the funds used in the transaction.
                                                                              16
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                              1         First, the government makes no attempt to suggest how the information is
                              2   particularly within the control of Claimant or some other party. The government has
                              3   engaged in a years-long, document intensive investigation, aided by (at a minimum)
                              4   Malaysia, the UK, and Switzerland. The government presumably has precisely the
                              5   bank records or other information it needs. Indeed, as the government undoubtedly
                              6   relied on bank statements and other financial records as a basis for the SAC’s actual
                              7   tracing of other alleged bank transfers, its inability to similarly allege facts about
                              8   the source of this alleged $13 million dollar payment speaks volumes.
                              9         In any event, the government has provided “no explanation of the basis for
                             10   such beliefs or facts that would make [its] allegations plausible.” BMA LLC v. HDR
                             11   Glob. Trading Ltd., No. 20-cv-03345, 2021 WL 949371 at *1 (N.D. Cal. Mar. 12,
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                             12   2021). See also Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993); Puri v.
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                             13   Khalsa, 674 Fed. App’x 679 (9th Cir. 2017); Blantz, 727 F.3d 917. It is pure
                             14   speculation that the $13 million allegedly used for the Saturn purchase was derived
                             15   from funds that originated from 1MDB as opposed to any other source. See
                             16   Dismissal Order at 5 n.3 (noting “that there are presumably a number of different
                             17   ways that PetroSaudi could have funded the drillship investment without 1MDB.”).
                             18   Finally, the detail that the SAC is able to include in tracing other amounts actually
                             19   undercuts crediting this allegation. Specifically, the government is able to trace the
                             20   funds from 1MDB→JVA→PSI→PSOSL→Discoverer/PDVSA. Thus, the absence
                             21   of similar allegations regarding the purported $13 million transfer is fatal to any
                             22   claims against the res. See, e.g., BMA LLC, 2021 WL 949371 at *8 (contrasting
                             23   allegations supported with “detail” to those with “little to no information” and
                             24   noting how the failure to provide a “similar level of specificity,” is insufficient to
                             25   make the allegations plausible).18 The SAC must be dismissed.
                             26
                             27   18
                                    Notably, in paragraph 1090, the SAC makes the allegation “upon information and
                             28   belief” but by paragraphs 1098 and 1100 this has morphed into a conclusory assertion of
                                  fact. See ¶ 1098 (“The Saturn itself was purchased partially through money
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                              1                2.     Allegations Relating to Mr. Obaid Do Not Save the SAC
                              2         The government seeks to “plead around” the Court’s prior order in another
                              3   respect as well, namely the Court’s recognition that “[a]t most . . . there are
                              4   allegations that an individual at PetroSaudi was a conspirator in the fraud for his
                              5   own personal benefit” but “there are no actual allegations that any PetroSaudi entity
                              6   committed the fraud.” Dismissal Order at 6-7. In conclusory fashion, the SAC now
                              7   alleges that Mr. Obaid through his role at PSI “was able to (and did) exercise
                              8   control of the PSI subsidiaries.” SAC ¶ 19; see also id. ¶¶ 20-21. The SAC then
                              9   jumps to allegations that Mr. Obaid was purporting to speak on behalf of various
                             10   entities. See, e.g., id. ¶¶ 1074, 1081. The SAC includes little more than bald
                             11   allegations of control on the basis of, intermittently, role, title, or ownership. More
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                             12   importantly, the government makes no allegations that corporate formalities were
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                             13   not observed. To the contrary, PSOSVL was governed by a three-person board of
                             14   directors, which Mr. Obaid did not control. Id. ¶ 1086; see also ECF 33-7,
                             15   Declaration of Anthony David Kerman, ¶¶ 5-7 (Dec. 21, 2020).
                             16         Tellingly, the SAC contains no specific allegations of any actions taken by
                             17   Mr. Obaid on behalf of PSOSVL. Indeed, PSOSVL was an active business, with
                             18   numerous employees and assets dedicated to carrying out international drilling
                             19   operations. The government cannot plausibly support its conclusory and threadbare
                             20   allegations that seem to variously sound in alter ego, veil piercing, and agency
                             21   without meeting any of the required legal elements for those concepts. Nothing in
                             22   the SAC provides a basis to ignore the doctrine of corporate separateness.
                             23   Accordingly, the suggestion that Mr. Obaid and the entities should be treated
                             24   interchangeably fares no better than the government’s prior use of the “umbrella
                             25   term ‘PetroSaudi’ for convenience . . . .” Opp’n to Mot. to Dismiss, ECF No. 43 at
                             26   21. Cf. Mou v. SSC San Jose Operating Co., 415 F. Supp. 3d 918, 930 (N.D. Cal.
                             27
                             28   misappropriated from 1MDB.”); ¶ 1100 (“By the same token, the purchase of the Saturn
                                  with $13 million in misappropriated 1MDB funds was a money laundering transaction”).
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                              1   2019) (“Conclusory allegations of alter ego status are insufficient.”) (citations
                              2   omitted); Masimo Corp. v. Sotera Wireless, No. 19-cv-0110, 2020 WL 7260660 at
                              3   *17 (S.D. Cal. Dec. 9, 2020) (“[A] bare allegation that two entities share officers
                              4   and/or directors does not suffice to show any dissolution of the corporate structure
                              5   warranting piercing of the corporate veil.”).
                              6         B.     Section 981(a)(1)(C) is not Satisfied as the FAC Fails to Allege
                              7                Direct Tracing to an SUA
                              8         The First Claim seeks to forfeit the Defendant Funds pursuant to 18 U.S.C. §
                              9   981(a)(1)(C) on the basis that they “constitute, and are derived from, proceeds
                             10   traceable” to a specified criminal offense. In this respect, the SAC attempts—but
                             11   fails—to link the defendant res to an SUA by the conclusory assertion that PSOSL
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                             12   and PSOSVL were co-conspirators in the alleged fraud against 1MDB. This is
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                             13   preposterous because, among other things, neither entity existed at the time of the
                             14   JVA funding and alleged misuse of the $1 billion (i.e., September 2009). Indeed,
                             15   PSOSL was not incorporated until December 11, 2009, and PSOSVL not until
                             16   March 31, 2010. It is both common sense and black-letter law that an alleged co-
                             17   conspirator cannot be liable for acts of the conspiracy that occurred before it joined.
                             18   See, e.g., Levine v. United States, 383 U.S. 265 (1966); United States v. Lothian,
                             19   976 F.2d 1257, 1262 (9th Cir. 1992); United States v. Garcia, 497 F.3d 964, 967
                             20   (9th Cir. 2007); United States v. Cruz, 127 F.3d 791, 796 (9th Cir. 1997). An entity
                             21   that did not exist could not have joined anything, and the SAC does not allege that
                             22   either entity took any actions in furtherance of the alleged conspiracy.
                             23         Further, the theory that the Defendant Funds constitute “proceeds traceable”
                             24   to fraud on 1MDB or are derived from “proceeds traceable” to fraud on 1MDB fails
                             25   to establish the required nexus between the arbitral award and the purported fraud.
                             26   “Proceeds” are defined, in relevant part, in 18 U.S.C. § 981(a)(2) as “property of
                             27   any kind obtained directly or indirectly, as the result of the commission of the
                             28   offense giving rise to forfeiture, and any property traceable thereto.” The modifier

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                              1   “traceable to” in 981(a)(1)(C) connotes a requirement that the government identify
                              2   the specific path of the “proceeds” from the specified unlawful activity to its
                              3   present form or location. Cf. United States v. Voigt, 89 F.3d 1050, 1087 (3d Cir.
                              4   1996) (holding that “the term ‘traceable to’ means exactly what it says”); United
                              5   States v. Bornfield, 145 F.3d 1123, 1135 (10th Cir. 1998) (“[P]roperty ‘traceable to’
                              6   means property . . . the acquisition [of which] is attributable to the [offense] rather
                              7   than from money obtained from untainted sources.”). Indeed, “trace” means to
                              8   “follow the footprints, track, or trail of” something. Trace, MERRIAM-WEBSTER
                              9   DICTIONARY ONLINE, www.merriam-webster.com/dictionary/trace. Other statutory
                             10   forfeiture provisions do not require the government to trace assets directly to the
                             11   criminal offense, see, e.g. 18 U.S.C. § 984 (forfeiture of fungible property) and 18
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                             12   U.S.C. § 981(a)(1)(B) (providing for forfeiture of “proceeds obtained directly or
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                             13   indirectly from an offense”), but the government is not relying on those.
                             14         The Defendant Funds all came from a third-party financial institution, Novo
                             15   Banco. The financial institution deposited those funds at the express direction of an
                             16   independent international arbitral tribunal. Thus, not a penny of the funds that the
                             17   government seeks to forfeit is sourced from any of the persons or entities identified
                             18   in the SAC as being involved in alleged criminal conduct. Moreover, the Defendant
                             19   Funds have only recently become the property of PSOSVL by operation of an
                             20   award by the same arbitral tribunal. Thus, the Defendant Funds are not traceable to
                             21   any alleged SUA and the claims for forfeiture must be dismissed. See, e.g. United
                             22   States v. $73,943.35 in U.S. Currency, No. 3:18-cv-213, 2018 WL 3956447, at *4
                             23   (N.D. Tex. Aug. 17, 2018); United States v. Any & All Ownership Interest Held in
                             24   the Name of Taub, No. CV169158JMVJBC, 2020 WL 278762, at *11 (D.N.J. Jan.
                             25   16, 2020) (“the Government must at a minimum allege a plausible connection
                             26   between the underlying offenses and the relevant property.”) (unpublished slip op.)
                             27         Notwithstanding these clear and incontrovertible facts, the government seeks
                             28   to forfeit the Defendant Funds using an extended and circuitous chain of

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                              1   speculative but for causation. However, as detailed above, the SAC fails to lay out
                              2   any facts to support such tracing (and, in fact, purports to trace other money, but not
                              3   the critical $13 million). Because the Court previously found the government’s “but
                              4   for” theory unavailing, see Dismissal Order at 4, n.3, it has avoided specifically
                              5   invoking that phrase. While the SAC studiously avoids using those words, the
                              6   allegations still sound in an untenable “but for” theory of causation. This is perhaps
                              7   observed most clearly in paragraphs 1091 and 1098 of the SAC. The government
                              8   alleges (emphasis added) that with respect to issuing bonds “PSOS Finance Limited
                              9   would not have been able to successfully raise bonds to purchase the rest of the
                             10   Saturn were it not for the pre-existing Venezuelan drilling project, SAC ¶ 1091, and
                             11   “but these bonds could not have been raised were it not for the pre-existing
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                             12   Venezuelan drilling project.” Id. ¶ 1098. The government’s theory makes no sense.
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                             13   For one thing, the contention that the “drilling project” was the reason the company
                             14   was able to raise funds through bond sales is contradicted by the allegation in the
                             15   SAC that the project was “highly troubled.” Id. ¶ 1094. For another, bonds are
                             16   generally valued on the prospective cash flow of the bond issuer. See Adam Hayes,
                             17   Bond Valuation, INVESTOPEDIA (updated Mar. 7, 2021)
                             18   www.investopedia.com/terms/b/bond-valuation.asp. Thus, the purchasers of Saturn
                             19   bonds would have relied upon the prospects and projected cash flow of the Saturn
                             20   drilling contract, not on the past performance of the independent drilling conducted
                             21   by the Discoverer. Even absent these fatal flaws, the allegations as to the bonds is
                             22   made wholly on information and belief, without any factual underpinning, and
                             23   should not be given credence. See Soo Park, 851 F.3d 910.
                             24         The simple fact remains that the res is property awarded by a legal tribunal to
                             25   an innocent actor, from an independent source, for bona fide services, funded
                             26   independently of any fraud, untraceable to 1MDB. The government, at best, relies
                             27   on an attenuated and imagined chain of but for causation involving multiple entities
                             28

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                              1   engaged in multiple commercial transactions over the course of many years. The
                              2   facts alleged in the SAC with respect to tracing are insufficient.
                              3         C.     Section 981(a)(1)(A) is not Satisfied as the SAC Fails to Allege
                              4                Tracing to Property Involved in a Money Laundering Offense
                              5         The Second and Third Claims seek to forfeit the Defendant Funds pursuant to
                              6   18 U.S.C. § 981(a)(1)(A) on the basis that they are traceable to property that was
                              7   involved in a money laundering transaction prohibited by Section 1957 (Count II)
                              8   or Section 1956(a)(1)(B)(i) (Count III). As an initial matter, the Third Claim must
                              9   be dismissed for the simple reason that the SAC utterly fails to support the assertion
                             10   that any of the relevant transactions were designed “to conceal or disguise the
                             11   nature, the location, the source, the ownership, or the control of the proceeds of
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                             12   specified unlawful activity.” 18 U.S.C. § 1956(a)(1)(B)(i). In the absence of any
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                             13   concealment allegations, the Third Claim must be dismissed.
                             14         In any event, both the Second and Third Claim must be dismissed because
                             15   the government fails to establish that the res is traceable to any money laundering
                             16   transaction. Because the government’s theory of forfeiture is that the upstream
                             17   property was used to commit or facilitate the commission of a criminal offense, or
                             18   was involved in the commission of a criminal offense, 18 U.S.C. § 983(c)(3)
                             19   requires the government to show the existence of a “substantial connection”
                             20   between the property the government seeks to forfeit and the underlying offense.
                             21   This provision requires more than an incidental or fortuitous connection between
                             22   the property and the alleged money laundering offense. Forfeiture thus is available
                             23   only where property is tied to a specific transaction that meets the elements of a
                             24   relevant money laundering statute. In this respect, the SAC identifies three possible
                             25   candidates: the partial purchase of the Discoverer, the partial purchase of the
                             26   Saturn, and other unspecified transactions “executed to establish the Venezuelan
                             27   drilling project.” SAC ¶ 1100. Thus, at bottom, the theory seems to be that the
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                              1   Defendant Funds are “traceble [sic] to a commercial venture” which was “created”
                              2   and “maintained” with fraudulently obtained funds. SAC ¶ 14.
                              3         To the extent that the government relies on the expenditure of $185 million
                              4   that PSOSL received from PSI as a violation of 18 U.S.C. § 1957, the res cannot be
                              5   traced to any such transaction, as thoroughly detailed above. In particular, the
                              6   Defendant Funds cannot be traced to any funds used to purchase the Discoverer.
                              7   Likewise, the wholesale inability to trace the $13 million allegedly used to purchase
                              8   the Saturn to any source (tainted or untainted) logically and legally disqualifies that
                              9   purchase from being characterized as a money laundering transaction.
                             10         That leaves the broad category of transactions “executed to establish the
                             11   Venezuelan drilling project,” SAC ¶ 1100—the same type of sweeping and
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                             12   conclusory allegation that was deficient in the FAC. There the government
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                             13   advanced a broad and undefined umbrella theory that the JV was a money
                             14   laundering “vehicle.” Now it is relying on allegations of a nebulous “venture,” that
                             15   similarly lack the required specificity and warrant dismissal. See, e.g., Jackson
                             16   Memorabilia, 2012 WL 8455336 at *2; United States v. One Gulfstream G-V Jet
                             17   Aircraft, 941 F. Supp. 2d 1, 15 (D.D.C. 2013); see also Iqbal, 556 U.S. at 678-79.
                             18   This bald conclusion is belied by the legal status of the separate contracts, separate
                             19   drillships and separate corporations.19 Nor does the SAC identify any of the “other”
                             20   transactions related to this so-called “Venezuelan drilling project” that could
                             21   constitute money laundering.
                             22         Ultimately, and impermissibly, what the government continues to seek is
                             23   precisely the type of overreach that section 983(c)(3) was intended to address:
                             24
                             25   19
                                     The absurdity of the SAC’s grouping of separate entities is illustrated by a real-world
                             26   example. Say a hotelier operates a location in Inglewood and a location in Santa Monica.
                                  If Inglewood burns down—and the operator goes to arbitration with its insurance
                             27   company to collect on the policy—the arbitration-awarded funds are not suddenly
                             28   forfeitable simply because the proprietor was in the “business of operating hotels” and the
                                  Santa Monica location was alleged to have been “involved in” the commission of crimes.
                                                                              23
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                              1         Under H.R. 1658’s substantial connection test, in order for an entire
                              2         bank account composed of both tainted and untainted funds to be
                                        forfeitable, a primary purpose of its establishment or maintenance must
                              3         be to disguise a money laundering scheme. This rule should also apply
                              4         when the government seeks to forfeit an entire business because tainted
                                        funds were laundered in a firm bank account. For the business to be
                              5         forfeitable, a primary purpose for the establishment or maintenance of
                              6         the entire business must be to disguise a money laundering scheme.
                              7   146 Cong. Rec. H2051 (daily ed. Apr. 11, 2000). The government can show no

                              8   substantial connection between the arbitration award and any money laundering

                              9   scheme. Accordingly, the Second and Third Claims must be dismissed.

                             10   IV.   INTERNATIONAL COMITY WARRANTS DISMISSAL

                             11         The SAC should be dismissed based on international “adjudicatory” comity
                                  principles. The Ninth Circuit articulated the principal considerations in determining
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                             13   whether adjudicatory comity applies in Mujica v. Airscan Inc., 771 F.2d 580 (9th

                             14   Cir. 2014). These include: “(1) the location of the conduct in question, (2) the

                             15   nationality of the parties, (3) the character of the conduct in question, (4) the

                             16   foreign policy interests of the United States, and (5) any public policy interests.” Id.

                             17   at 604. Similarly, recognizing that “[f]oreign states, no less than the United States,

                             18   have legitimate interests,” the court noted that “proper analysis of foreign interests

                             19   essentially mirrors the consideration of U.S. interests.” Id. at 607.

                             20         The balance in this case clearly supports application of comity. The UK court

                             21   has now exercised jurisdiction and control over the Defendant Funds. In particular,

                             22   it has ordered the funds to be paid into the court, and that various disbursements be

                             23   made from them. Any order made by this Court with respect to disposition of the

                             24   funds would necessarily interfere with the UK court’s jurisdiction over property

                             25   physically located in the UK. In addition, any claims by Malaysia or the United

                             26   States against the Defendant Funds are grounded in the same alleged fraud against

                             27   1MDB. Based on the government’s own allegations, the vast majority of the

                             28   underlying alleged conduct was by non-U.S. nationals, with few if any connections

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                              1   to the United States, and occurred outside of this country. Similarly, the alleged
                              2   conduct at issue was directed principally against Malaysia, whose courts have also
                              3   asserted jurisdiction over the Defendant Funds, and if there was any fraud Malaysia
                              4   was its victim. Thus, although U.S. foreign and public policy interests may be
                              5   involved those interests must be weighed against the paramount interests of the UK
                              6   (in vindicating the authority of its courts within its own territory) and Malaysia (in
                              7   recovering allegedly stolen state funds). And, of course, the jurisdictional claims of
                              8   the UK and Malaysian courts both predate the government’s filing of its SAC.
                              9         In the past the government relied on Mujica for the proposition that, once the
                             10   United States files suit, the court is required to defer in any comity analysis to its
                             11   articulation of U.S. foreign policy interests. This is not the case. The Mujica Court
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                             12   merely deferred to the U.S. position—as stated in an amici brief—that U.S. foreign
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                             13   policy interests favored dismissal of a civil case. It nevertheless exercised its
                             14   discretion to uphold dismissal. And, as the Ninth Circuit recently found, there is no
                             15   requirement that a United States District Court defer to the government’s policy
                             16   positions here: “[t]he plaintiffs point to no principle that requires district courts to
                             17   defer to statements of interest from the United States.” Cooper v. Tokyo Elec.
                             18   Power Co. Holdings, Inc., 960 F.3d 549, 569 (9th Cir. 2020). Exercising discretion
                             19   and rubberstamping an Executive Branch action are two entirely different things,
                             20   and an Article III court is not, and cannot be, required to resolve a particular case or
                             21   controversy in whatever manner the Executive Branch dictates. Accordingly, the
                             22   SAC should be dismissed on the basis of international comity.
                             23                                       CONCLUSION
                             24         For the reasons discussed above, the Court should grant Claimant’s motion
                             25   and dismiss this action. Further, such dismissal should be with prejudice and
                             26   without leave to amend. See Sisseton-Wahpeton Sioux Tribe v. United States, 90
                             27   F.3d 351, 355 (9th Cir. 1996) (finding previous amendments and the futility of
                             28   proposed amendment warranted denial of leave to amend).

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                              1   DATE: April 19, 2021                       Respectfully submitted,
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                              3                                              Baker & Hostetler LLP
                              4                                              By: /s/ David B. Rivkin, Jr.
                              5                                              SCOTT J. FISHWICK
                                                                             DAVID B. RIVKIN, JR.
                              6
                              7                                              Attorneys for Claimant
                                                                             PETROSAUDI OIL SERVICES
                              8                                              (VENEZUELA) LTD.
                              9
                             10   OF COUNSEL:
                             11   Baker & Hostetler LLP
                                  LEE A. CASEY
B AKER & H OSTETLER LLP




                             12   MARK W. DELAQUIL
   A TTORNEYS AT L A W
      L OS A NGELES




                             13   JONATHAN R. BARR
                                  ELIZABETH PRICE FOLEY
                             14   KENDALL E. WANGSGARD
                             15   JONATHAN B. NEW

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                              1                             CERTIFICATE OF SERVICE
                              2   I hereby certify that a true and correct copy of the foregoing and its attachments
                              3   was electronically filed on April 19, 2021 using the CM/ECF system, thereby
                              4   sending a notice of electronic filing to all counsel of record.
                              5                                                  /s/ David B. Rivkin, Jr.
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